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                              IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF COLORADO


                                Civil Action No. 13-CV-1300-MSK-MJW


  JOHN B. COOKE, Sheriff of Weld County, Colorado; et al.



          Plaintiffs,



  vs.


  JOHN W. HICKENLOOPER, Governor of the State of Colorado,


          Defendant.



          LEGISLATIVE TESTMIONY OF LEE REEDY AND SAM MYRANT.
          EXHIBIT P OF SHERIFFS' RESPONSE TO MOTION TO DISMISS


  Exhibit P

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   1 CITY AND COUNTY OF DENVER

   2 STATE OF COLORADO

   3 JUDICIAL COMMITTEE MEETING

   4 HELD ON FEBRUARY 12, 2013

   5 HOUSE BILL 13-1224

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   7              REPORTER'S TRANSCRIPT
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  10           This transcript was taken from an audio

  11 recording by Angela Smith, Professional Reporter and

  12 Notary Public.

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  Testimony of Lee Reedy



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  24    Sir, state your name for the record,

  25 please. Tell us who you represent.

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   1            LEE REEDY: My name is Lee Reedy. I

   2 represent my wife and myself.

   3            THE CHAIRMAN: Fantastic. Welcome,

   4 sir. Thank you for waiting so long. Please proceed

   5 with your testimony.

   6            LEE REEDY: To much of America, a

   7 firearm is a symbol that you are a citizen, a

   8 responsible person who can be trusted with an

   9 instrument of considerable power that enables you to

  10 protect yourself, your family, and your property.

  11             To the elite, a firearm is a symbol of

  12 barbarism and a lack of trust in their fellow
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  13 citizens and reliance on government.

  14           I would agree that violence is rarely

  15 the answer, as we've heard before in this testimony,

  16 but when it is, it becomes only the answer. That is

  17 to say, at that point, the number one priority is to

  18 survive, and the focus has got to be on taking away

  19 the attacker's ability to continue and resume -- or

  20 continue or resume the attack.

  21           I's oppose HB13-1224 for a number of

  22 reasons, but I'd like to bring up a couple of things

  23 that I haven't heard yet.

  24           There's no exemption that I can tell

  25 for entities like security companies, who rely on

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   1 having duty weapons like the Glock 22, Glock 23.

   2 They typically have 13 or 15 rounds.

   3          There's no exemption for statutorily

   4 authorized agencies that are not actually employees.

   5 And to this, I refer to the Colorado Mounted

   6 Rangers. They are an all-volunteer organization and

   7 yet they are not covered in the exemptions of this

   8 bill.

   9          There are no exemptions for school

  10 resource officers who would be in the most and best

  11 place to make the changes or to effect a defense of
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  12 children.

  13           And I don't think the committee really

  14 realized it or not, but when you entertained an

  15 amendment to okay Magpul as a manufacturer of

  16 products, it kind of sounded like what you said was,

  17 oh, it's okay to manufacture them here, you just

  18 can't have them here. And that really sounded

  19 hypocritical.

  20           And, you know, I don't mean it to

  21 sound accusatory, but it really kind of sounded like

  22 the focus was, oh, we want the taxes and we want the

  23 manufacturing and the jobs, but we don't want the

  24 magazines, God forbid.

  Testimony of Sam Myrant



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  10       THE CHAIRMAN: And we'll proceed

  11 through our witnesses, if we can. Let's see. We

  12 have Sam Myrant. Sam Myrant.

  13           Mr. Myrant, welcome. Please tell us

  14 your name, who you represent and proceed with your

  15 testimony, sir.

  16           SAM MYRANT: My name is Sammy Myrant,

  17 and I represent myself and my family. And first of

  18 all, I'd like to -- I earlier expressed my
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  19 condolences to Representative Fields on her loss.

  20            My loss goes on every day. The man

  21 who committed 16 felony counts of rape, child abuse

  22 on this child gets out of prison this year. So

  23 there are times when we're going to need a magazine

  24 of high capacity.

  25            He's a member of the Aryan

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   1 Brotherhood, and he gets out of prison this year.

   2 And he has sworn to kidnap her and us, rape her

   3 again in front of us, then kill us in front of her.

   4           And is he going to obey your new law

   5 of 10-round capacity. Because when he gets out, the

   6 law is going to be passed. So is he going to obey

   7 the law? Being a member of the Aryan Brotherhood,

   8 do you think he's going to be able to find some sort

   9 of weapons illegally? Yes, he is.

  10            So my point is, the only person that

  11 can protect my family and myself is myself. My

  12 wife, who had never shot a gun in her life, went out

  13 and got a concealed weapons permit and learned how

  14 to shoot. Because how would she feel -- how would

  15 any of you feel if your daughters or granddaughters

  16 were attacked and you said, oh, it's illegal for me

  17 to carry this high-capacity gun, so go ahead, kill
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  18 my granddaughter, kill my daughter.

  19           Is that the object for this committee

  20 of this law? Who's going to protect us? The police

  21 can't protect us. It's a personal responsibility.

  22 We are responsible for our own protection.

  23           I have many police officer friends.

  24 Bruce Vanderjack was a friend of mine. We worked

  25 together as security officers. There is no one who

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   1 is responsible for your protection but yourself.

   2           So what's going to happen when it

   3 comes down to when these animals are going to come

   4 get us? Who's going to protect us? Are you all

   5 going to be there to protect me?

   6           Police officers will tell you -- every

   7 one of these sheriffs will tell you they cannot be

   8 there. And so if I'm not allowed to protect myself

   9 with this high-capacity ammo, what do you guys say,

  10 oops?

  11           THE CHAIRMAN: Representative Salazar.

  12           REPRESENTATIVE SALAZAR: I'm so sorry

  13 for your loss, and I'm concerned that the gentleman

  14 who committed this crime is coming out this year.

  15           Just a question for you. How many --

  16 how many rounds do you think that you would need to
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  17 be able to protect yourself?

  18            And I sincerely -- this isn't a

  19 sarcastic question. I really am asking that

  20 question. How many rounds do you think that you

  21 need, to be able to protect yourself, in a magazine?

  22            THE CHAIRMAN: Mr. Myrant.

  23            SAM MYRANT: Well, first of all, I am

  24 disabled, so I can't put a clip in and out very

  25 quickly. I drop them, even when I'm practicing at

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   1 the range. So I want to have as many in my Glock 17

   2 that I can have. And I carry 17 in there all the

   3 time. My wife carries 15 in hers.

   4           And I don't want to kill anybody, but

   5 I have to be responsible. I have to be able to

   6 protect my family, and so I need that many.

   7           THE CHAIRMAN: Representative Salazar.

   8           REPRESENTATIVE SALAZAR: Okay. So

   9 then that answers my question that, it's not the 10

  10 that you think -- or that's written in the

  11 legislation right now, that you feel that the 17

  12 that you might have might get you there, that you'd

  13 feel a little better with that.

  14            SAM MYRANT: That's the capacity --

  15 I'm sorry. That's the capacity. Or if I feel
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  16 like -- if I saw him out -- I have a 30-round clip

  17 that I can put into my Glock. If I felt that that's

  18 what I needed to carry, I would.

  19           REPRESENTATIVE SALAZAR: Thank you.
